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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11   BIG3 LLC, et al.,                           No. 2:18−cv−3466 DMG (SKx)
   12                  Plaintiffs,                  Assigned for all purposes to
   13                                               Hon. Dolly M. Gee
              v.
   14                                               [PROPOSED] ORDER RE:
        AHMED AL-RUMAIHI, et al.,                   JOINT STIPULATION RE:
   15                                               TEMPORARY SEALING OF
                       Defendants.                  DOCUMENTS AND PROPOSED
   16                                               BRIEFING SCHEDULE FOR
                                                    DEFENDANTS’ APPLICATION
   17                                               TO PERMANENTLY SEAL
   18                                               DOCUMENTS
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                               [PROPOSED] ORDER RE: JOINT STIPULATION
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    1                                 [PROPOSED] ORDER
    2         The Parties having filed a stipulation agreeing (1) to a briefing schedule for
    3   Defendants’ regularly noticed motion to permanently seal portions of Plaintiffs’
    4   Response to Order to Show Cause re: Dismissal for Lack of Prosecution, and
    5   Exhibits A and B to the Declaration of Mark Geragos; and (2) that Docket Entry
    6   Nos. 43, 43-1, 43-2, 43-3, 43-4, 43-5, 43-6, 43-7, 43-8, 43-9, 43-10, 43-11, 43-12,
    7   43-13, and 43-14 remain temporarily under seal until such time as Defendants’
    8   motion to seal has been resolved by the Parties’ agreement or a final order of this
    9   Court, and for good cause shown, IT IS HEREBY ORDERED THAT:
   10         1.      The deadline for Defendants to file a regularly noticed motion to seal
   11   the OSC Response is August 24, 2018.
   12         2.      The deadline for Plaintiffs to file an opposition is September 7, 2018.
   13         3.      The deadline for Defendants to file a Reply is September 21, 2018.
   14         4.      A hearing on the motion to seal the OSC Response is scheduled for
   15   October 5, 2018.
   16         5.      Docket Entry Nos. 43, 43-1, 43-2, 43-3, 43-4, 43-5, 43-6, 43-7, 43-8,
   17   43-9, 43-10, 43-11, 43-12, 43-13, and 43-14 shall remain temporarily under seal
   18   until Defendants’ motion to seal the OSC Response has been resolved by the
   19   Parties’ agreement or by a final order of this Court.
   20         6.      To the extent the Parties’ briefs and supporting documents reference,
   21   quote from, or attach any temporarily sealed documents or information, the Parties
   22   may also file such documents and information temporarily under seal.
   23   IT IS SO ORDERED.
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                                                       Hon. Dolly M. Gee
   26   Dated: ____        , 2018                      U.S. District Judge
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                               [PROPOSED] ORDER RE: JOINT STIPULATION
